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                 IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

IN RE:                                    §
                                          §
ALLIANCE FARM AND RANCH, LLC              §     Bankruptcy Case No. 25-30155
and                                       §
ALLIANCE ENERGY PARTNERS, LLC             §

                           ORDER GRANTING
           DUSTIN ETTER’S EMERGENCY MOTION TO RESCHEDULE

      Dustin Etter’s Emergency Motion to Reschedule (Doc. 64) is in all things

GRANTED.

      The hearings on the applications to employ counsel for Debtor Alliance Farm and

Ranch, LLC (Doc 26 and Doc 31) are hereby rescheduled for: May ___, at ___ AM / PM.



            SIGNED on ________________________, 2025.



                                      _______________________
                                      JUDGE PRESIDING




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